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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                         CASE NO: 4:05cr24-SPM

FATAI TAIWO,
a/k/a “Asa”,

               Defendant.
                                                     /

                            FINAL ORDER OF FORFEITURE

       THIS CAUSE CAME before the court on the Motion of the United States of

America for a Final Order Of Forfeiture. Being fully advised in the premises, the

Court finds as follows:

       WHEREAS, on August 16, 2006, this Court entered a Preliminary Order Of

Forfeiture against $1,259.00 in U.S. Currency; and

       WHEREAS, on September 1, 2006, the United States of America caused to

be published in the Tallahassee Democrat, a newspaper of general circulation,

notice of this forfeiture and the intent of the United States of America to dispose of

the property, in accordance with the law, and further notifying all third parties of their

interest in said property, and

       WHEREAS, no other persons or entities having an interest in the above-
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referenced property have timely filed petitions, it is hereby

       ORDERED, ADJUDGED and DECREED that the right, title and interest to the

above-referenced property, is hereby condemned, forfeited and vested in the United

States of America, and shall be disposed of in accordance with the law.

       DONE AND ORDERED this 23rd day of October , 2006.


                                      s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge




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